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13
     UNITED STATES OF AMERICA,               No. CR 16-499-GW
14
                Plaintiff,                   GOVERNMENT'S RESPONSE TO PRE-
15                                           SENTENCE INVESTIGATION REPORT AND
                     v.                      POSITION WITH RESPECT TO
16                                           SENTENCING OF DEFENDANT GREGORY
     GREGORY ALLEN JUSTICE,                  ALLEN JUSTICE; EXHIBITS
17
                Defendant.                   Sentencing Date:     Sept. 18, 2017
18                                           Sentencing Time:     8:00 a.m.

19

20        Plaintiff United States of America, by and through its counsel

21   of record, the Office of the United States Attorney for the Central

22   District of California and undersigned counsel, hereby files the

23   Government's Response to Pre-Sentence Investigation Report and

24   Position with Respect to Sentencing of Defendant Gregory Allen

25   Justice.

26        The government's sentencing position and response to the Pre-

27   Sentence Investigation Report (the "PSR") is based upon the attached

28   sentencing memorandum and exhibits, the files and records in this
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 1   case including the PSR, the plea agreement, and the affidavit in

 2   support of the criminal complaint, and such further evidence and

 3   argument as the Court may permit.

 4   Dated: August 21, 2017               Respectfully submitted,

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 1                      MEMORANDUM OF POINTS AND AUTHORITIES

 2   I.      INTRODUCTION

 3           While working as an employee of a cleared defense contractor,

 4   defendant met on multiple occasions with a person he thought was an

 5   agent of a Russian intelligence service.        At those meetings,

 6   defendant handed over.thumb drives containing trade secrets and

 7   technical data controlled for export from the United States related

 8   to military satellites, which files defendant had downloaded from

 9   his employer's computer network just before each meeting.           Defendant

10   understood the sensitivity of the data he stole and supplied,

11   explained its significance and how the data could be used to exploit

12   U.S. satellites, and continued meeting knowing that the information

13   would be sent "to Moscow" and that his Russian handler likened his

14   role to the characters in the television show "The Americans."

15           Defendant's Russian "handler" was in reality an under-cover

16   employee ("UCE") of the Federal Bureau of Investigation ("FBI").

17   While defendant told the UCE that his motive to sell secrets was to

18   pay for his wife's medical bills, in fact, defendant sent much of

19   the $3,500 cash he received from the UCE to his online paramour.

20   That cash was just a portion of over $20,000 defendant mailed to his

21   paramour, in addition to televisions and other gifts he sent to her;

22   meanwhile, defendant told his wife she needed to cancel her upcoming

23   medical appointments because he did not have the money to pay for

24   them.    Worse still, defendant leveraged his secret relationship with

25   the UCE to barter secrets for Anectine, a muscle relaxant that

26   defendant intended to administer to his wife unwittingly--as the

27   evidence below shows--in order to kill her.

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 1         The government agrees with the factual findings and Guidelines

 2   calculations in the Pre-Sentence Investigation Report ( "PSR'')

 3   prepared by the U.S. Probation Office ("USPO"), with one exception:

 4   the evidence shows that the offense involved the conscious or

 5   reckless risk of death or serious bodily injury, which warrants the

 6   application of a two-level enhancement.          This one enhancement is the

 7   only disputed guidelines factor under the plea agreement.

 8         Defendant betrayed his country, sold out his employer, and

 9   prepared to kill his wife.      Regardless of whether that enhancement

10   is applied,   the facts set forth below supporting are, at a minimum,

11   aggravating and should be accounted for under 18 U.S.C. § 3553(a),

12   and thus a sentence of eighty-seven months' imprisonment, three

13   years of supervised release, and a $100 mandatory special assessment

14   is a just punishment for defendant's conviction for committing

15   economic espionage and violating the Arms Export Control Act.

16   II.   FACTUAL BACKGROUND

17         A.   Procedural History

18         After a meeting with the UCE, defendant was arrested pursuant

19   to a complaint on July 7, 2016, and was ordered detained.             ( CR 1, 7,

20   9.)   Defendant was indicted on July 19, 2016, for the same two

21   charges contained in the complaint:          Count One charged defendant

22   with attempted economic espionage in violation of 18 U.S.C.

23   § 1831(a) (5), and Count Two charged defendant with attempting to

24   send export-controlled     technical data out of the United States in

25   violation of the Arms Export Control Act ("AECA"), 22 U.S.C.

26   § 2778(b) (2) and (c), and the International Traffic in Arms

27   Regulations ( "ITAR"), 22 C. F. R.   §   127 .1 (a) and (e) .   (CR 13.)   Those

28   charges arose from one of defendant's meetings with the UCE on March

                                              2
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 1   4, 2016, when defendant provided a USB thumb drive containing files

 2   defendant had downloaded from his employer 1 s computer network.

 3             Defendant pled guilty to both counts of the indictment pursuant

 4   to a plea agreement on May 22, 2017.                     ( CR 34, 36.)

 5             The USPO disclosed the PSR and its recommendation letter (the

 6   "USPO Letter") on August 7, 2017.                     (CR 37, 38.)

 7             B.    Defendant Supplied a Person He Thought Was a Russian Spy
                     with Sensitive Military Satellite Technology
 8
               Defendant's offense conduct is set forth in detail in the
 9
     affidavit in support of the complaint (CR 1), the plea agreement (CR
10
     34    1   14), and the PSR        (11   15-43,   11   91-97).   Defendant was an
11
     engineer at a cleared defense contractor ("Cleared Contractor A"),
12
     where he worked on multiple military and U.S. government satellite
13
     programs, including the Wideband Global Satellite Communications or
14
     "WGS.     II   (PSR   11   16).
15
               Between February and July 2016, defendant met in person with the
16
     UCE six times, first in a public location and each of the following
17
     meetings in a hotel room.               At all of the hotel meetings, defendant
18
     provided a USB thumb drive containing files he had downloaded from
19
     Cleared Contractor A's computer network, and the UCE gave defendant
20
     first $500 and then $1,000 cash at each of the subsequent meetings
21
     (except the last when defendant was arrested).                       (PSR   11   28-29, 32,
22
     35, 37, 40.)          Defendant understood that the information he provided
23
     would be sent "back to Moscow and they will review this," and
24
     defendant also understood the security risks in his endeavor.                           (PSR
25
     1    26.)
26
               Defendant entered into this relationship, with a person who he
27
     thought was a Russian spy, with eyes wide open.                      Defendant asked the
28

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 1   UCE about his place in Russian intelligence services, asking if the

 2   UCE was "in the FSB." 1         (PSR 1 27.)       The UCE said that he was not,

 3   that he was in the SVR, which he likened to the American CIA.                          (Id.)

 4   The UCE said that the best way to explain his position was by

 5   reference to the television show "The Americans," which defendant

 6   said he had seen.       (Id.)

 7          The four trade secrets that are the subject of the charges were

 8   downloaded by the defendant on March 2, 2016, among 29 items that

 9   defendant downloaded onto a USB thumb drive.                  (Complaint Aff.      1   52.)

10   Defendant provided the USB drive to the UCE when they met in a hotel

11   room on March 4, 2017.          (PSR   1 32.)     Those trade secrets all related

12   to WGS:    one related to verifying encryption and decryption

13   functionality; another related to testing the satellites operations;

14   another related to the plan used to develop the firmware that will be

15   installed on WGS satellites; and another related to the plan used to

16   test the configuration of Cleared Contractor A 1 s sensitive anti-

17   jamming technology used on WGS satellites.               (PSR 11 18-21; Plea Agrt.

18   1   14.b.i-iv.)     Those files are covered by Category XV(f) of the

19   United States Munitions List, and thus controlled for export by the

20   ITAR, which requires a license before they could be exported to any

21   country or disclosed to foreign persons.               (PSR   1   23.)   The cost of

22   developing those four files, as determined by a subject matter expert

23   who examined the contracts and files, is $3,186,072.                     (PSR   1 44, 58;
24   Plea Agrt.   1    14.w, 16.a.)

25

26
27          The "FSB," or Federal Security Service of the Russian
            1
     Federation, is the principle security agency of the Russian
28   government and the main successor agency to the KGB, the Soviet-era
     intelligence agency.
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 1        Those four files are a fraction of the total files for WGS and

 2   other satellite programs that defendant supplied the UCE.                                (E.g.,

 3   Complaint Aff.        1 44.d ("Copying 46 items (148 MB)"), 1 61.d ("Copying
 4   8 items (14.5 MB)" and "Copying 19 items (82.9 MB)"),                            1    73.c

 5   ("Copying 15 items (11.4 MB)"); PSR                 1   34 (defendant provided

 6   information related to GPS satellites to the UCE),                          11 32, 35
 7   (defendant provided data related to TDRS satellite to the UCE) .)                                   At

 8   the second-to-last meeting, defendant said that he had brought all of

 9   the schematics for how the satellite was built, explaining that what

10   he provided would allow the UCE's associates to build and test it

11   themselves.       (PSR     1   37.)

12        Defendant knew well the sensitive nature of the files that he

13   stole and delivered to the person he thought was a Russian spy.

14   Defendant had access to these sensitive files by virtue of his

15   position at Cleared Contractor A.                   (PSR   1   65.)   He was trained on the

16   sensitivities regarding export controls, and circumvented the

17   measures that Cleared Contractor A used to maintain the information

18   contained in the files as confidential technical data and trade

19   secrets.     ( PSR    1   2 2, 2 4 . )   In describing the materials he gave to the

20   UCE, defendant said they were "considered trade secrets so none of

21   that's gunna be available" on the Internet.                       (PSR     1   25.)    Showing he

22   knew exactly the type of sensitive technical data he had secreted

23   from his employer and the illegality of doing so, defendant

24   repeatedly described it as material controlled by ITAR.                               At one

25   meeting defendant told the UCE that "everything is ITAR.                               Do you know

26   ITAR?"     (PSR   1   25.)      At the third meeting, defendant confirmed that

27   "everything that we have is going to be governed by ITAR"                               (PSR   1   31),

28   described ITAR more in the fourth meeting (PSR                        1   34), and in the

                                                     5
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 1   fifth meeting explained more research he had done into !TAR (PSR

 2   1 36).       After defendant was arrested, in a recorded and Mirandized

 3   interview, defendant said he knew what he was doing was "pretty

 4   illegal."

 5          Defendant confirmed, for example, that all of the GPS

 6   information he provided was current (PSR        1   34), provided a

 7   handwritten document related to a sensitive component of the WGS

 8   system (Id.), and suggested that the information he provided could be

 9   used to intercept communications--or even substitute communications

10   (PSR   1    37).   Just before he was arrested, defendant offered to

11   continue helping the UCE in new ways:        defendant offered to plug in a

12   portable hard drive in order to copy information from a classified

13   computer system in a facility to which he had just gained access.               He

14   also offered to give a tour of his work facility to the UCE, during

15   which he would allow the UCE to wear glasses that allowed him to take

16   photographs of the facility--which defendant knew was prohibited due

17   to the highly sensitive nature of the work conducted there.            (PSR

18   11 38-39.)
19          C.      Defendant's Wife and Online Paramour, and His Attempt to
                    Acquire Anectine
20
            At the outset of their relationship, the UCE asked defendant why
21
     he sought out Russia and what defendant expected.           Defendant said
22
     that his wife's medical care was expensive and that he needed money.
23
     (PSR 1 25i Complaint Aff. 11 42.a, 42.j.)           Defendant later cited his
24
     debt and "medical bills" when suggesting that the UCE ask his
25
     superiors to assess the value of the information he supplied.            (PSR
26
     1   27i Complaint Aff. 45.e ("[M]y wife is going to need medical care
27
     for the rest of her life, so that number will grow.").)
28

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 1           While purporting to be driven by desperation and a desire to

 2   provide for his wife's medical needs, defendant actually diverted

 3   most of the $3,500 cash he got from the UCE to his online paramour, a

 4   woman he had never met in person and knew as "Chay."           (PSR 1 42.)

 5   The cash that defendant received from the UCE, however, was only a

 6   small portion of at least $21,420 in cash that defendant sent by

 7   FedEx to Chay between December 2015 and May 2016.           (PSR   1   43.)    In

 8   addition to cash, defendant also sent Chay various consumer goods

 9   including televisions, a purse, a fan, a grill, and furniture.

10   (Complaint Aff.     1 31.)
11           While diverting over $20,000 in cash to his paramour, whom he

12   had never met, defendant told his wife to cancel all of her upcoming

13   medical appointments for the foreseeable future because they did not

14   have the money to repair the car to bring her there.           (Complaint Aff.

15   1   24.)

16           But defendant plotted a darker path.        Defendant began asking the

17   UCE for Anectine.      (PSR 11 91-93.)       Anectine, also known as

18   succinylcholine chloride, is a muscle relaxant for intravenous

19   administration generally administered in a hospital, doctor's office,

20   or clinic, and it can result in rapid muscle breakdown leading to

21   life-threatening symptoms, including cardiac arrest.           (PSR     1 91   &

22   n.1.)      During the fifth meeting on May 12, 2016, defendant said the

23   following to the UCE:

24           Anectine was one of the things they gave her to help her,
             to help her relax her chest to be able to breathe. Um, so,
25           you know you, how you're supposed to breathe, right?
             You're not supposed to breathe with your chest, you know,
26           you're not supposed to do that. Breathe with the
             diaphragm.  Like this. So the problem is, because of the
27           diabetes, she's gained so much weight that when she's
             asleep, her diaphragm can't expand this way, so, so she
28           breathes like this, and her chest gets really tight so,

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 1           instead of, she's breathing like, and that was one of the
             first things they saw in the sleep study so they gave her,
 2           gave a shot of this muscle relaxer and almost instantly,
             she's still breathing in her chest instead of down here,
 3           but she was able to breathe much, much easier.

 4   (PSR    ~   93; Exh. A.)   During the last meeting, just before he was

 5   arrested, when the UCE brought a substance that he professed was

 6   Anectine, defendant said he planned to administer it to his wife.

 7   When asked if he had experience with this, defendant said that he had

 8   been practicing with insulin.        (Exh. Bat 18-19.)       When told that

 9   Anectine could be very dangerous, defendant said that any medication

10   can be risky, and reiterated that he wanted it in order to help her

11   sleep.        (Id. at 19-20.)

12           In fact, his wife had never received Anectine, it had never been

13   administered by the sleep center she visited, and it had never been

14   prescribed by the sleep center.        (PSR   ~   95; Complaint Aff.   ~   69.)   In

15   other words, defendant's account of his wife's expectation to be

16   injected with Anectine was fabricated.

17           In a post-arrest interview, defendant admitted that he had

18   planned to administer the putative Russian intelligence officer's

19   Anectine to his wife, that his wife did not know about Anectine and

20   had never consented to use it, that defendant had researched the drug

21   and was aware that outside of a hospital setting Anectine was most

22   often used as a poison "for killing," and that he had read about one

23   or more instances in which Anectine had been used as a murder weapon.

24   ( PSR   ~   97 . )

25           Specifically, during his post-arrest statement, defendant said

26   that his "intent was that I would give it to my wife to help her

27   breath and help her sleep."       The interviewing FBI agent inquired what

28   would happen if he asked defendant's wife about a prescription for

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 1   Anectine, and defendant said, "she doesn't have one."           When asked a

 2   similar question about inquiring of defendant's wife as to

 3   conversations they had had about using Anectine to help her,

 4   defendant said "we haven't had one."        The agent then asked defendant

 5   what his wife's reaction would be if she realized what Anectine would

 6   do.   Defendant explained that his wife was not familiar with

 7   Anectine.     Defendant said he intended to use it with his wife, and

 8   reiterated that it was to help her sleep; however, he also admitted

 9   that he had never discussed it with her and that she had never taken

10   it or ever had a prescription for it.        Defendant said that several

11   months ago his colleague had showed him a story about a nurse who had

12   used Anectine to kill children, and that defendant understood that

13   Internet searching for Anectine brought up results "about killing."

14   Defendant said he understood that one "had to be very careful with

15   it," and that when used outside of a hospital setting, Anectine was

16   most often used "for killing."       When asked what the agent was

17   supposed to think when evaluating the .facts that defendant had just

18   acknowledged, defendant said:       "You're supposed to think I'm trying

19   to kill my wife."     Defendant said this would be a reasonable

20   assumption.    Defendant nonetheless maintained that he was just trying

21   to help his wife sleep.      Defendant acknowledged that "an overdose

22   would be lethal," but maintained that he did not intend to administer

23   a lethal dose to his wife--that it would be "unacceptable." 2

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27
           2The government may play several minutes of the video of
28   defendant's post-arrest statement on this topic at the sentencing
     hearing.
                                             9
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 1         Defendant had viewed multiple web pages relating to Anectine and

 2   its generic name, including one that made reference to its use as a

 3   poison in connection with a murder.          (PSR   1   96; Exh. C.)

 4         Thus, the following facts are undisputed:

 5              •   Defendant intended to administer the Anectine to his wife,
 6                  and his wife did not know about that plan.

 7              •   Defendant knew that Anectine was used for killing outside
 8                  of a hospital setting.

 9              •   Defendant knew there was a lethal risk of overdosing on
10                  Anectine.

11              •   Defendant was not aware of what a "safe" dose of Anectine
12                  would be -- or even if there could be such a thing outside

13                  of a hospital setting.

14              •   Defendant lied about having a prescription.
15              •   Defendant lied about his wife's alleged prior use of
16                  Anectine at a sleep center.

17              •   Defendant lied about his wife knowing about it at all.
18              •   Defendant conducted online research about Anectine and its
19                  use as a poison.

20              •   Defendant sought to obtain this lethal drug for his wife,
21                  without her knowledge, from a Russian intelligence agent in

22                  a transaction that defendant presumed would never see the

23                  light of day.

24   III. GOVERNMENT'S SENTENCING POSITION AND RECOMMENDATION

25         A.       Sentencing Guidelines Calculation

26         As set forth in the plea agreement, the parties agree on a

27   number of sentencing factors, which collectively amount to an

28   offense level of 25.       The parties have left open the enhancement for

                                             10
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 1   conscious or reckless risk of death or serious bodily injury, which,

 2   if applied--as the government submits it should be--would result in

 3   an offense level of 27.

 4         Defendant has pled guilty to two counts.                 The parties agree

 5   that the offenses group under U.S.S.G. § 3Dl.2(a) and§ 3Dl.2(b),

 6   and that the count with the higher offense level will be the offense

 7   level for the single group.         Plea Agrt.       1   18.

 8         As to Count One, the parties agree that the base offense level

 9   is 6 (U.S.S.G. § 2Bl.l(a) (2)), that a four-level enhancement applies

10   for misappropriating a trade secret knowing and intending it would

11   benefit a foreign government, agent, or instrumentality (U.S.S.G. §

12   2Bl.l(b) (13) (B)), and that a sixteen-level enhancement applies based

13   on a loss amount of more than $1.5 million and up to $3.5 million

14   (U.S.S.G. § 2Bl.l(b) (1) (I)).      Plea Agrt.       1 16.a.      That yields an

15   offense level of 26, before the application of an enhancement

16   pursuant to U.S.S.G. § 2Bl.l(b) (15) (A) for offense conduct involving

17   the conscious or reckless risk of death or serious bodily injury,

18   discussed below.     (Plea Agrt.    1   16. a. i.)

19        As to Count Two, the attempted violation of the Arms Export

20   Control Act, 22 U.S.C. § 2778(b) (2) and (c) and 22 C.F.R. § 127.l(a)

21   and (e), the parties agree that the base offense level is 26

22   (U.S.S.G. § 2M5.2(a) (1)).        Plea Agrt. 116.b.            With no specific

23   offense characteristics, that yields an offense level of 26 as well.

24        The parties agree that a two-level upward adjustment applies

25   for defendant's abuse of his position of trust pursuant to U.S.S.G.

26   § 3Bl.3.   Plea Agrt.   1   17.

27        With the government's motion for defendant to receive a

28   reduction in offense level under U.S.S.G. § 3El.1 (Plea Agrt.

                                               11
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 1   1   3.c), defendant's offense level will be reduced by three levels.

 2    (Plea Agrt. 118.)

 3         As noted above, there is one enhancement the parties dispute--

 4   whether defendant's offense involved conscious or reckless risk of

 5   death or serious bodily injury pursuant to U.S.S.G.

 6   § 2Bl.l(b) (15) (A).   Plea Agrt.    1   16.a.i.   This enhancement should

 7   apply because defendant sought Anectine from a person he thought was

 8   a Russian intelligence officer, as consideration for secreting

 9   Cleared Contractor A's sensitive military technology, in order to

10   secretly administer it to his wife.           Although defendant had not gone

11   so far as to administer the substance he thought was Anectine, he

12   had schemed to acquire a hospital-grade muscle relaxant that he knew

13   was used as a murder weapon.        Defendant himself conceded that it

14   would be reasonable to infer he intended to murder his wife.

15   Whether or not he did so intend, defendant's offense conduct

16   involved--at a bare minimum--a reckless risk that his wife would die

17   or be seriously injured when he injected her with the Anectine.

18         Defendant did not concede that he intended to use the substance

19   for anything other than helping her with her sleep, but even briefly

20   considering that assertion shows it is not credible.          To do so would

21   mean that defendant sought a prescription drug he could not

22   otherwise get; that he sought it from a person whose relationship

23   with defendant was secret and which would not be revealed because of

24   their shared risk in other illegal conduct; that, even within that

25   relationship, defendant told his "handler" lies about his wife's

26   previous use of Anectine and her prescription for it; that defendant

27   read online how it could be used as a poison; and that, with no

28   medical basis or experience to conclude that it could be used for

                                              12
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 1   breathing or sleep assistance from either the sleep center or his

 2   own research--let alone knowledge of the appropriate dosage--

 3   defendant planned to administer a dangerous drug with a lethal risk

 4   of killing his wife without telling her.         But, according to

 5   defendant, he was planning to do it for her benefit, for the purpose

 6   of letting her sleep better.

 7         Even accepting defendant's statements at face value and in the

 8   light most favorable to him, defendant indisputably provided to a

 9   putative Russian intelligence officer sensitive satellite

10   information as consideration for a highly dangerous controlled drug

11   that he intended to secretly administer to his wife, that he knew

12   could be lethal in the wrong dose, and for which he did not know the

13   corre~t dosage (Ex.Bat 20-21 (defendant inquired if the UCE's

14   associates "happen[ed] to mention a, uh, uh, an appropriate dose,"

15   and then claiming that the dose was on the "prescription" (that did

16   not exist)).)    By these actions, at a bare minimum and by well more

17   than a preponderance of the evidence, defendant engaged in conduct

18   that would consciously and recklessly cause a risk of death or

19   serious injury to his wife.      With that enhancement, the total

20   offense level in light of the other enhancements and adjustments

21   above yields a total offense level of 27.         With a Criminal History

22   Category of O (PSR    1   78), defendant's advisory guidelines range is

23   70-87 months.

24         B.   Nature and Circumstances of the Offense

25         The nature and circumstances of the offense are detailed at

26   length above, and warrant the recommended sentence.          Defendant's own

27   words reflect his intent to compromise valuable and sensitive

28   military data on behalf of a foreign intelligence service, and he did

                                            13
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 1   so for profit while undermining the national security of the United

 2   States.    In the same stroke, defendant sought to bargain those

 3   secrets not only for cash for his online paramour, but also for a

 4   lethal drug that he intended to administer to his wife without her

 5   knowledge.     A severely aggravating factor set in an already depraved

 6   scheme to supply and guide the Russian government on how to disrupt

 7   U.S. military satellites calls for a sentence of seven years and

 8   three months.     Regardless of whether the Court applies a two-level

 9   enhancement pursuant to U.S.S.G. § 2Bl.l(b) (15) (A), this sentence is

10   warranted under the totality of the circumstances and evidence set

11   forth above.

12         c.     History and Characteristics of the Defendant

13         Defendant is an educated engineer, and a long-time employee of

14   a cleared defense contractor.       He used his education and training to

15   seek out the materials that would be most valuable to the Russian

16   government, and then to explain their significance and guide the

17   Russian government on how that information could be used against the

18   United States--betraying the trust that had been placed in him.            Any

19   financial urgency that drove his conduct could have been mitigated

20   by eliminating--or even just reducing--the cash and gifts he sent to

21   his online paramour.

22         D.     Seriousness of the Offense, Respect for the Law, Adequate
                  Deterrence, and Just Punishment
23
           A significant term of imprisonment is necessary to promote
24
     respect for the law, and to deter both defendant and others.            Similar
25
     offenses by trained and well-resourced foreign agents or persons in
26
     positions of trust in the U.S. government or cleared contractors can
27
     be difficult to detect and fully investigate, and a significant
28

                                            14
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 1   sentence is both warranted and necessary to effectively dissuade

 2   others.     The recommended sentence is both just and commensurate with

 3   defendant 1 s conduct, and it will deter others who may contemplate

 4   doing the same.

 5         E.     Kinds of Sentences Available and Policy Considerations

 6         For the two counts of conviction for violating 22 U.S.C. § 2778

 7   and 18 U.S.C. § 1831, defendant may be sentenced to up to thirty-

 8   five years in prison.     A sentence of less than a quarter of that--

 9   eighty-seven months--is warranted here, where defendant has pled

10   guilty to two offenses, his conduct bears multiple aggravating

11   factors, and by defendant 1 s own words was designed to undermine the

12   U.S. military.

13         F.     Need to Avoid Sentencing Disparities

14         A sentence of imprisonment of eighty-seven months is,         taking

15   into account the other factors and considerations set forth herein,

16   likely to avoid a disparity with other cases nationwide, particularly

17   where the total offense level is 27 and eighty-seven months 1

18   imprisonment is the high end of the resulting advisory Guidelines

19   range.     See United States v. Becerril-Lopez, 541 F.3d 881, 895 (9th

20   Cir. 2008)    (observing that sentences within the Guidelines range are

21   unlikely to create a disparity because "it represents the sentence

22   that most similarly situated defendants are likely to receive")

23   Other d~fendants are unlikely to be similarly situated, having

24   committed acts that both threaten national security and involve a

25   plot to poison one 1 s spouse.

26   IV.   CONCLUSION

27         For the foregoing reasons, the government respectfully submits

28   that an appropriate sentence for defendant is eighty-seven months'

                                            15
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 1   imprisonment, three years of supervised release with the terms

 2   recommended by the USPO, and a $100 mandatory special assessment.

 3

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                          Exhibit A
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       UC:    Very good.
  2
  3    CB:    Today's the 12~
  4
   s   UC:    Yes, I believe· so. Okay.
  6                                                                          \,

   7   CB:    Oh, and then I'll give you thls.
   8
  9    UC:    Ah yes. Oh thank you very much. Also I wanted to ask, do you still need this Anectine? I
  10          wanted to make sure.
  II
  12   CB:    Yea. Yes, please.
  13
  14   UC:    Okay, I think I told you they su.id you coulp most likely two, I know you said originally
  IS          the prescription was for three. ·
  16
  17   ,CB:   Yes.
 18
  19   UC:    They said two. But I told you they say it will talce little bit of time because it has to be on
 20           ice constantly they said, so.
 21
 22    CB: . Oh okay. Okay.
 23                                                                                                     \
 24.   UC:    Yes.
 2S
 26    CB: · Okay.
 27
 28    UC:    You said your wife did this sleep. study, did that help identify problems?
 29
 30    CB:    Oh yes, and, and that, that uh, Anectine was one of the things they gave her to help her, to
 31            help her relax her chest to be able to breathe. Um, so, you know you, how you're
 32           .supposed to breathe right? You're not supposed to breathe with your chest, you know,
 33            you're not supposed to do Ulat. Breathe with the diaphragm. Like this. So the problem is,
 34           'because of the diabetes, she's gai~d so much weight that when she's asleep, her
 3S            diaphragm can't expand this way, so, so she bre~thes like this, and her chest gets really
 36            tight so, instead of, she's breathing like, and that was one of the first things they saw in
 37            the sleep study so they gave her, gave a shot of this muscle relaxer and almost instantly,
· 38                                                                                       to
               she's still breathing in her chest instead of down here, but she was able breathe much,
 39            much easier. ·
 40                    .                          .
 41    UC:    She was more comfor:table this way'l
 42
 43    CB:    Yes.
 44
                                                        J9
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         UC:     Did you, so they, this sleep study, I hear many people talk about sleep study but I have
   2             never seen this, how does this work?                  ·
   3
   4     CB:     ·Um, you go to a doctor, like your, y9ur primary doctor and he will refer you to a sleep
   s              clinic and you'll make an appointment and go there at like 8 o'clock at night and spend,
   6 ·            spend one or two nights.
   7
   8     UC:     .Oh so you sleep at this- .
   9
 10      CB:     Yea.
 II
 12      UC:     Oh;
 l.'.3
  14     CB:     Oh yea. They watch you sleep.
  15
  16      UC:    Interesting. As long as it will, will benefit her, it's good.
  17
  18     CB:     Yes.
  19
  20      UC:    Sounds like breathinf;! will be much better.
· 21
 22      CB:     It's very important.
 23
 24      UC:     Yes it is. J understand.
 25
 26      CB:     [Laughter]
 27
 28      UC:     I'm trying to think anything else. Ah before I forget, next time Twill call, I don't kno·w,
 29              you will remember maybe yes? May 1st or May 2nd, be availabl.e for me to call you and
 30              set up,next meeting.
 31
 32      CB:     You mean June 151?
 33
 34      · UC:   Yes, June 1st, yes, sorry, sorry.
 35
 36      CB:     [Laughter]
 37
 38      UC:     I've been traveling to much. June 1st or 2"11 •
 39
 40      CB:     Uh, yes.
 41
 42      UC:     It will maybe be easier t(.) remember June 151, I will call same time.
 4l
 44      CB:     Okay.
                                                            20
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                           Exhibit B
     Case 2:16-cr-00499-GW Document 39 Filed 08/21/17 Page 25 of 32 Page ID #:276




     File Number:
     Disc Number:

     UC:   Okay. Just, because they ask me what, because sometimes they confuse what you already
 2         provided them to what I have received. So I, I try to make sure -
 3
 4   CB:   Okay, and I, I, I try very carefully to make sure I don't duplicate what I give you.
 5
 6   UC:   Because I think they said there was one or two that maybe, that's why I was trying to
 7         figure out. No problem.
 8
 9   CB:   Yes.
10
11   UC:   Wehaveplentyoftime.
12
13   CB:   [Laughter]
14
15   UC:   Oh, and since you have ice now, I will, I will go get this out of refrigerator for you.
16
17   CB:   Okay.
18
19   UC:   Now, because it's very smart that you bring ice.
20
21   CB:   Uh, like you said, I like to be prepared.
22
23   UC:   Yes, I know. I always tell them you are very impressive person. So I did not know how
24         familiar with this, I know you said that, on the phone, you, you would have to administer
25         this?
26
27   CB:   Uh, yes 1 will because this is -
28
29   UC:   So this is, they said this is the true, true name is not the generic brand or not this brand
30         name.
31
32   CB:   Yes.
33
34   UC:   But this is generic formula and they said this is always what is on bottles in hospital.
35
36   CB:   Okay.
37
38   UC:   So as you see, it's very cold.
39
40   CB:   Yes.
41
42   UC:   They thought they would be able to give you two of these, but they said for now just one,
43         if you need more later.
44
                                                       18
     Case 2:16-cr-00499-GW Document 39 Filed 08/21/17 Page 26 of 32 Page ID #:277



     File Number:
     Disc Number:

     CB:    Okay.
 2
 3    UC:   I didn't know how much you needed.
 4
 5   CB:    Just any right now.
 6
 7    UC:   They said this should last Jong time and, and for administration, do you have experience
 8          with this, or-?
 9
10   CB:    Um, I've been practicing giving her, her insulin.
11
12   UC:    Ah, so you can help her with this one, yes?
13
14   CB:    Yes.
15
16   UC:    So, so you understand the injection. This is normally, I don't know if you know
17          background on this, this is normally they said powder. It comes in powder form but they
18          wanted to go ahead and mix this for you.
19
20   CB:    Oh okay.
21
22   UC:    In case you did not know the right elements to mix and how to properly do this.
23
24   CB:    Oh, so it comes in powder form and I would have to mix it myself?
25
26   UC:    Yes but they went ahead and premixed it for you.
27
28   CB:    Okay.
29
30   UC:    So that's why it is like this.
31
32   CB:    Oh okay.
33
34   UC:    I did not know -
35
36   CB:    No I didn't.
37
38   UC:    How much you know about this or not. And then also, this is just for our awareness, I
39          trust you, you trust me, and we've developed a good relationship.
40
41   CB:    Yes.
42
43   UC:    And, they wanted me to make sure you know this is very, could be dangerous, could be
44          risky to use, um, are you aware of this?
                                                    19
     Case 2:16-cr-00499-GW Document 39 Filed 08/21/17 Page 27 of 32 Page ID #:278




     File Number:
     Disc Number:

     CB:   No. I mean any medication can be, can be risky.
 2
 3   UC:   They said this is normally not given by a pharmacy, this usually in the hospital, and that
 4         is :fine, we are here to help and support you, yes?
 5
 6   CB:   Okay.
 7
 8   UC:   Whatever you ask for like this. They just wanted to find out, you know, because we have
 9         this relationship, to trust each other, you should be able to confide.
10
11   CB:   Okay.
12
13   UC:   You know ifthere's any issues or anything that you would like to talk about.
14
15   CB:   Okay, alright um, did they happen to mention a, uh, uh, an appropriate dose?
16
17   UC:   They didn't mention dose, because they do not want to, you to think they are questioning
18         you because this is not what is going on.
19
20   CB:   Okay.
21
22   UC:    They just was curious exactly if, they didn't know, you said this was for breathing, they
23         said this maybe not help for breathing, you know, I looked online and they said this can
24         be used for other things which is fine too.
25
26   CB:   Okay.
27
28   UC:   No big deal, 1 just curious if~ you know, since we've been talking and you know, share
29         this. We want to make sure of any liabilities we should be aware of because -
30
31   CB:   Right. Um-
32
33   UC:   I know you said you were having issues with your wife and always nagging you and
34         things, things like that.
35
36   CB:   [Laughter]
37
38   UC:   You know, I didn't know maybe if this was for that or-
39
40   CB:   No [Laughter]
41
42   UC:   I would understand this if so. I, I, my wife nags very often as well.
43
44   CB:   [Laughter] No, this is just to help her sleep.
                                                      20
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      File Number:
      Disc Number:

 I    UC:    Oh, okay. I was just curious. So you understand to keep this cold, yes?
 2
 3    CB:    Yes.
 4
 5    UC:    Okay. And the doctors did not tell you the dose that you should provide?
 6
 7    CB:    Uh, it's written on the prescription, on the form which is at the pharmacy so I don't. I'll.
 8           I'll ask. I'll ask the doctor. It shouldn't be, a very little bit.
 9
10    UC:    They said that, depending on what you plan on doing, this should, could last a while or
11           not.
12
13    CB:    [Laughter]
14
15    UC:    So, this is up to you.
16
17    CB:    Okay.
18
19    UC:    So, so what else is going on? You, you're always full of information.
20
21    CB:   · [Laughter] Um, I really don't have anything else going on just taking my wife to the
22            doctor's visits and, and go to work.
23
24    UC:    Hmm, and this, you said this is late for you, yes?
25
26    CB:    Uh, it'll be later in the evening. This would be about my 9 O'clock at night. For a normal
27           person.
28
29    UC:    And she will not be angry with you?
30
31    CB:    Uh, no. Uh, she is under the impression that I am in my boss' office having my midyear
32           review.
33
34    UC:    Ah, well it is midyear, yes.
35
36    CB:    It is midyear.
37
38    UC:    Very creative.
39
40    CB:    It's actually not, he is doing them this week.
41
42    UC:    Oh.
43
44    CB:    [Laughter]
                                                      21
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                           Exhibit C
            Case 2:16-cr-00499-GW Document 39 Filed 08/21/17 Page 30 of 32 Page ID #:281




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                                                            bK.auunis an im.~1tantplayam TCA {E:rHli) q-C.e,a IB15 ofchaniul mctons thatpo;,·as all living c.e:Is that
                                                            m:e\lxygm.
                                                            Commghaci ID Mahmoud al-Mabhooh,hee-.ths:hadan abnorm..1 gEH°Xvariantofp;aidocliolinestmis!, wh1cliis
                                                            notunrommon.so s,;~oit!:.erurwasnotn1=.!.abofmd, orI:\Jh.aiaut..~es badacu,;sto ahlghly~Bl~iti;e
                                                            mcriny'11Donocll0Imemay.OISJJm:o.m~,.elhink,up.1Stb1uffinginlhftb::ldleEasl!klsu.rprmstlme.
                                                            Ibanksforradlllg,imdhae·sagrutsp-/tno'rn'.COutt~oiDubaiauthonta:-




                                                                                                                                                                                                                                          Page 2
     Case 2:16-cr-00499-GW Document 39 Filed 08/21/17 Page 32 of 32 Page ID #:283




                                                                                                                                                                                                                                                    D      X
M Succill}icholine, APerf&L. X    +
           w-,·r.v,medgadget.comi2(110/L)3/su,:(iny:c~oll~e_a_0Hfod_oo·son_mal:.es_app~ara1'Cfl-_in_tJ:e_JJba/_muider.hlm'                                              Cl, succinylcholine ' perlect poison make .,   ,:. ~   \')   ...   1t   e   (lj1

                                                      m             POf'I.ILAA    CAII60Rlf5"      was<.iuBE       StaUrT        ABOUT




                                                         Re1:WsO-r,ntMci!Al;co..stU~:mc.\\\t'IThz~}~h frtn       Th!Sbffo!As~ Tu,,,,ii~TheVull

                                                         "'~"'
                                                         UM;:i.i}~Rt','i!-h!l~Sl!tp~~/10St~Crd..;rt

                                                         '"                                                      <rut-!ll!ehiZm!J:rirl~1~20»amwdaCAGl:~f
                                                                                                                 6E%Dm"-1tt~l'erni:!1015--2Ua
                                                         ru HkW ~fli~?u~. oru.s. r.!Ct~ls~ Cm!!."C
                                                         Jl<r.s




                                                                                 EdttOJs
                                                                                 !-1tkdgM!J,€clviilre~Mlin1Mlxeslme<ft.illechndlgfMm,lrdH,ieivle3':!erslnltl!,l!ei<:l
                                                                                 and ft& ili:patchas frnmrMd:C.l o?.mts arum11MW00i




                                                        It        SIJSSCU3f      COHTACTUS        SUBWI         ASOUT



                                                                                                 ~E"~JL',;c'·, ltt;,;,-a;c, !c;IJdtO•~~lac'"'--cJ/

                                                       medGadget                                  ~~:!'J->'r";'Z~ l .-~.\D',~l"f,-~l .. 1 1t,!''.i~,...~,o",.-=!



                                                                                                 llflilHli;




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